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                             UNITED STATES DISTRICT COURT
                                              District of Minnesota


Megan McAteer, Individually and
On behalf of all others similarly situated,
                                                          JUDGMENT IN A CIVIL CASE
                                         Plaintiff,
v.
                                                                  Case Number: 18-cv-349 (DWF/LIB)
Target Corporation

                                       Defendant.


     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
     has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

        1. Target’s Motion to Dismiss (Doc. No. [20]) is GRANTED and Count
        through IV and Counts VIII through XIV discussed herein are DISMISSED WITHOUT
        PREJUDICE; and
        2. Target’s Motion to Dismiss (Doc. No. [20]) is GRANTED and Count V
        through Count VII discussed herein are DISMISSED WITH PREJUDICE.


Date: 7/29/2018                                                       KATE M. FOGARTY, CLERK

                                                                                s/K. Krulas
                                                           (By)                   K. Krulas , Deputy Clerk
